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                                                                        [Docket No. 8]

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  RONALD KOONS, et al.,

                      Plaintiffs,
                                                 Civil No. 22-7464 (RMB/EAP)
          v.

  WILLIAM REYNOLDS, et al.,                                ORDER

                      Defendants.


BUMB, United States District Judge

      As set forth in the accompanying Opinion of today’s date, Plaintiffs have

made the requisite showing for emergent temporary relief. As such, the Plaintiffs’

Motion for a Temporary Restraining Order is GRANTED, and the Court

RESERVES its decision as to the Plaintiffs’ Motion for a Preliminary Injunction.

[Docket No. 8.] Accordingly,

      IT IS on this 9th day of January 2023 ORDERED that Defendants, as well as

their officers, agents, servants, employees, and attorneys (and any other persons in

active concert or participation with them) are TEMPORARILY RESTRAINED

from enforcing the following provisions of Chapter 131 of the 2022 Laws of New

Jersey: Section 7(a), subparts 12, 15, 17, and 24, and Subsection 7(b)(1); and it is

further




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      ORDERED that Plaintiffs are EXCUSED from giving security; and it is

further

      ORDERED that this Temporary Restraining Order shall REMAIN IN

EFFECT pending a hearing and ruling on Plaintiffs’ motion for a preliminary

injunction [Docket No. 8]; and it is further

      ORDERED that the parties shall meet and confer regarding an expedited

discovery and briefing schedule for Plaintiffs’ preliminary injunction motion and

propose such schedule to the Court within three (3) business days from the date

hereof.

                                               s/Renée Marie Bumb
                                               Renée Marie Bumb
                                               U.S. District Judge




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